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                                                         - 919 -
                               Nebraska Supreme Court Advance Sheets
                                        311 Nebraska Reports
                                                  STATE v. KEADLE
                                                  Cite as 311 Neb. 919



                                        State of Nebraska, appellee, v.
                                         Joshua W. Keadle, appellant.
                                                    ___ N.W.2d ___

                                           Filed July 8, 2022.     No. S-20-580.

                 1. Convictions: Evidence: Appeal and Error. Regardless of whether the
                    evidence is direct, circumstantial, or a combination thereof, and regard-
                    less of whether the issue is labeled as a failure to direct a verdict, insuf-
                    ficiency of the evidence, or failure to prove a prima facie case, the stan-
                    dard is the same: In reviewing a criminal conviction, an appellate court
                    does not resolve conflicts in the evidence, pass on the credibility of wit-
                    nesses, or reweigh the evidence; such matters are for the finder of fact,
                    and a conviction will be affirmed, in the absence of prejudicial error, if
                    the evidence admitted at trial, viewed and construed most favorably to
                    the State, is sufficient to support the conviction. The relevant question
                    for an appellate court is whether, after viewing the evidence in the light
                    most favorable to the prosecution, any rational trier of fact could have
                    found the essential elements of the crime beyond a reasonable doubt.
                 2. Criminal Law: Appeal and Error. The “corpus delicti” is the body
                    or substance of the crime—the fact that a crime has been committed,
                    without regard to the identity of the person committing it.
                 3. Criminal Law: Words and Phrases. The corpus delicti requirement
                    is composed of two elements: the fact or result forming the basis of a
                    charge and the existence of a criminal agency as the cause thereof.
                 4. Criminal Law: Circumstantial Evidence: Proof. Nebraska requires
                    that the corpus delicti of a crime must be established by evidence
                    beyond a reasonable doubt, but it may be proved by either direct or
                    circumstantial evidence.
                 5. Circumstantial Evidence: Words and Phrases. Circumstantial evi-
                    dence is evidence which, without going directly to prove the existence
                    of a fact, gives rise to a logical inference that such fact exists.
                 6. Convictions: Confessions: Evidence: Proof. A criminal conviction
                    cannot be sustained solely upon a defendant’s extrajudicial admission
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            Nebraska Supreme Court Advance Sheets
                     311 Nebraska Reports
                              STATE v. KEADLE
                              Cite as 311 Neb. 919
      or voluntary confession, but either or both are competent evidence
      of corpus delicti and may, with corroborative evidence of facts and
      circumstances, establish the corpus delicti and guilty participation of
      the defendant.
 7.   Criminal Law: Homicide: Proof. In homicide cases, the corpus delicti
      requirement is not established until it is proved that a human being
      is dead and that the death occurred as a result of the criminal agency
      of another.
 8.   ____: ____: ____. The body of a missing person is not required to prove
      the corpus delicti for homicide.
 9.   Homicide: Circumstantial Evidence. The failure to recover a body
      may, itself, be circumstantial evidence of the corpus delicti of homicide,
      because it is highly unlikely that a person who dies from natural causes
      will successfully dispose of his or her own body.
10.   ____: ____. In the absence of a body, confession, or other direct evi-
      dence of death, circumstantial evidence may be sufficient to support a
      conviction for murder.
11.   ____: ____. There is no reason to treat the crime of murder differently
      from other crimes when considering the use of circumstantial evidence
      to establish their commission, and the presence or absence of a particu-
      lar item of evidence is not controlling. The question is whether from all
      of the evidence it can reasonably be inferred that death occurred and that
      it was caused by a criminal agency.
12.   Convictions: Circumstantial Evidence. Under Nebraska law, the
      accused’s rule has no application when reviewing the sufficiency of
      circumstantial evidence to support a criminal conviction, and it has no
      application when reviewing the sufficiency of circumstantial evidence to
      support corpus delicti.

  Appeal from the District Court for Gage County: Ricky A.
Schreiner, Judge. Affirmed.

  Jeffery A. Pickens, of Nebraska Commission on Public
Advocacy, for appellant.

  Douglas J. Peterson, Attorney General, and Melissa R.
Vincent for appellee.

  Heavican, C.J., Miller-Lerman, Cassel, Stacy, Funke,
and Papik, JJ., and Harder, District Judge.
                               - 921 -
          Nebraska Supreme Court Advance Sheets
                   311 Nebraska Reports
                         STATE v. KEADLE
                         Cite as 311 Neb. 919
   Stacy, J.
   Tyler Thomas, a student at Peru State College (PSC) in Peru,
Nebraska, has been missing since the early morning hours of
December 3, 2010. Her body has never been found. Joshua W.
Keadle is the last person known to have seen Thomas alive. In
2017, Keadle was charged with first degree murder in connec-
tion with Thomas’ disappearance. A jury found Keadle guilty
of second degree murder, and he was sentenced to prison.
Keadle appeals, assigning only that the evidence adduced at
trial was insufficient to establish the corpus delicti of homicide.
Finding no merit to this assignment, we affirm.
                       I. BACKGROUND
                  1. Thomas’ Disappearance
   In the fall of 2010, Thomas was a 19-year-old student
attending PSC. She lived on campus in a coed dormitory
(dorm). On the evening of December 2, 2010, Thomas attended
a series of parties, consumed alcohol, and became visibly
intoxicated. After getting into an argument with friends at one
of the parties, Thomas was asked to leave. She declined a ride
back to her dorm, and instead left the party on foot, heading
in the direction of campus. She also made statements about
wanting to go back to Omaha, Nebraska, and walking there if
necessary. The weather was cold, and Thomas was not wearing
a coat.
   Thomas was seen by others walking on the PSC campus
between 1 and 1:30 a.m. on December 3, 2010, but she never
made it back to her dorm. At approximately 1:25 a.m., several
of Thomas’ friends received text messages from Thomas’ phone
indicating that Thomas did not know where she was. The last
such message was sent and received at 1:28 a.m., prompting
Thomas’ friends to begin searching for her, without success.
After a couple of hours, her friends contacted law enforce-
ment to report Thomas missing. Law enforcement searched for
Thomas without success. Organized search efforts continued
for the next several days.
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         Nebraska Supreme Court Advance Sheets
                  311 Nebraska Reports
                        STATE v. KEADLE
                        Cite as 311 Neb. 919
   PSC conducted a room-by-room search of the dorm com-
plex, but Thomas was not located. Thomas’ purse was found
in her dorm room, along with her driver’s license, birth certifi-
cate, Social Security card, keys, debit cards, a gift card, and a
check from PSC in the amount of $1,104.22.
   Officers from the Nemaha County sheriff’s office and
Nebraska State Patrol, along with hundreds of volunteers,
searched for Thomas on the ground. Helicopters searched from
the air. A search of the Missouri River was conducted using
divers and sonar. Law enforcement disseminated information
about Thomas’ disappearance on a national scale, including
entering her information in the National Crime Information
Center database and the database of the National Center for
Missing and Exploited Children. A DNA profile for Thomas
was developed from some of her personal belongings and
entered into a national DNA database used to identify miss-
ing persons.
   Thomas has never been located. Her cell phone has never
been found. Friends and family who had regular contact with
Thomas before her disappearance have not heard from her
since. According to a credit report, Thomas’ only financial
activity since her disappearance has been a failure to pay stu-
dent loans.
                    2. Keadle Interviews
   Keadle was also a student at PSC in the fall of 2010. At
the time Thomas disappeared, Keadle was living in the same
coed dorm complex as Thomas and their suites were near one
another. There was evidence that Keadle and Thomas did not
get along. PSC students observed Keadle and Thomas get into
“heated argument[s]” with each other, and multiple students
claim to have heard Keadle use derogatory terms when refer-
ring to Thomas. During the investigation of Thomas’ disap-
pearance, law enforcement interviewed Keadle several times.
The admissibility of those interviews is not at issue.
   The first such interview occurred on December 4, 2010,
when Keadle spoke with a Nebraska State Patrol trooper about
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         Nebraska Supreme Court Advance Sheets
                  311 Nebraska Reports
                       STATE v. KEADLE
                       Cite as 311 Neb. 919
his whereabouts the night Thomas disappeared. Keadle told
the trooper that on the evening of December 2, he drove with
friends to Nebraska City, Nebraska, to see a movie, which
ended shortly after midnight on December 3. Keadle and his
friends drove back to Peru, picked up some additional friends,
and headed back to the dorm complex to “hang out.” Keadle
said that while driving back, he saw Thomas walking in the
direction of the dorm complex sometime between 1:10 and
1:15 a.m. and that she appeared to be intoxicated.
   Keadle told the trooper that after arriving at the dorm com-
plex, he separated from his friends because he was not feel-
ing well. He returned to his dorm to use the restroom, after
which he noticed a light coming from a nearby dorm room.
He knocked on the door and two female students answered.
They told Keadle about receiving a text message from Thomas
saying she was lost, and they indicated they were going out to
search for her.
   On December 5, 2010, an investigator visited with Keadle
in his dorm room and asked Keadle to provide a written state-
ment detailing his activities from 5 p.m. on December 2 until
he went to sleep on December 3. Keadle complied, and he
produced a written statement which was largely consistent
with what he had told the trooper the day before. The inves-
tigator then asked some followup questions about Keadle’s
and Thomas’ relationship. Keadle told the investigator that he
and Thomas did not get along. When asked where he thought
Thomas was, Keadle responded that he thought Thomas was in
Omaha and was fine.
   On December 6, 2010, law enforcement conducted a recorded
interview with Keadle, in which he generally recounted the
same version of events that he provided previously. When
investigators asked Keadle whether there was a reason he
would have left campus around the time Thomas disappeared,
Keadle denied leaving his dorm room at all. Investigators
then asked Keadle whether there was a reason that he would
be on surveillance cameras outside of the dorm complex, and
Keadle responded that he went to his vehicle to get change at
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         Nebraska Supreme Court Advance Sheets
                  311 Nebraska Reports
                       STATE v. KEADLE
                       Cite as 311 Neb. 919
one point. Later, when asked about his cell phone’s satellite
location, Keadle admitted that he left his dorm around 2:30
a.m. on December 3 and drove to the Missouri River to smoke
marijuana. He also admitted driving back to the river the next
morning, again to smoke. But Keadle repeatedly denied see-
ing Thomas either time he went to the river. When asked why
Thomas’ phone would be showing it was located at the river,
Keadle said he had “no clue.” He told law enforcement that if
they wanted to check his vehicle, he would unlock it and they
could bring their cadaver dogs.
   On December 7, 2010, law enforcement conducted another
recorded interview with Keadle. They told Keadle they had
obtained additional information through their investigation
which raised concerns about the timeline he provided. When
pressed, Keadle insisted that he had not been with Thomas
the night she disappeared. But eventually, Keadle remarked,
“You’re not going to believe me, man.” When interviewers
assured Keadle that they would believe him, Keadle said,
“Okay, here’s what happened.”
   Keadle proceeded to tell the officers that during the early
morning hours of December 3, 2010, as he was driving to
the river to smoke marijuana, Thomas “popped out” of some
bushes. He let her into his vehicle, and she accompanied
him to the boat ramp at the river. Keadle said that Thomas
appeared to be upset and that she told him about having an
argument with her friends earlier that night. At some point
during their conversation, Thomas asked Keadle for a ride
to Omaha. Keadle said he initially refused, but Thomas said
she could “do something” for him if he agreed to take her
to Omaha, and she began rubbing his crotch. According to
Keadle, Thomas refused to have sex with him because she
was menstruating, and she was unwilling to perform oral sex.
But Keadle said that Thomas was willing to perform a “hand
job” in exchange for a ride to Omaha and that he agreed.
Keadle told the officer that he ejaculated into a napkin and
threw the napkin on the ground. No napkin was recovered
from the scene.
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         Nebraska Supreme Court Advance Sheets
                  311 Nebraska Reports
                        STATE v. KEADLE
                        Cite as 311 Neb. 919
   Keadle said that after this sexual encounter with Thomas,
he walked to the edge of the river to smoke. It was then
that Keadle decided he did not want to drive Thomas to
Omaha after all. When he told Thomas this, she became angry.
According to Keadle, Thomas ran toward him, started hitting
him, swore at him, and threw her phone at him as he stood
near the river. Keadle stated that he grabbed Thomas’ wrists
and told her to “quit playing,” but that Thomas screamed at
him and said she would tell the police that Keadle had raped
her. Keadle offered Thomas a ride back to her dorm, but she
refused to get back into his vehicle. Keadle said that he left
the river without Thomas and that she was still screaming as
he drove away.
   Keadle said he was worried that Thomas would make good
on her threat to accuse him of rape, so when he got back to
his dorm, he showered to get Thomas’ DNA off. Keadle told
officers that after the shower, he decided to go out looking
for Thomas. He drove back to the river and walked around
the area north of the boat ramp with a flashlight, yelling her
name. When he did not find Thomas near the river, he drove
to a graveyard, but did not find her there. Keadle said that
he grew concerned about his potential criminal liability and
whether he could be charged with homicide if Thomas “comes
up . . . frozen to death.” So Keadle said he used his cell phone
to research possible scenarios, which he described in his inter-
view as “what if her body . . . ends up in the river and my
fingerprints are gonna be on her from where I grabbed her,”
“forensic evidence,” and “fingerprints in the water.”
   When asked during his December 7, 2010, interview whether
his DNA would be found on Thomas’ body, Keadle said he put
his hand down the back of Thomas’ pants during the sexual
encounter. And when asked whether Thomas’ body would
show any injuries, Keadle responded that Thomas may have
bruises on her wrists or elbows from where he had grabbed
her. Keadle then remarked that it would “be a lot different”
if they found her body and discovered she had been stabbed
or shot.
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         Nebraska Supreme Court Advance Sheets
                  311 Nebraska Reports
                        STATE v. KEADLE
                        Cite as 311 Neb. 919
                      3. Other Evidence
               (a) Passengers in Keadle’s Vehicle
   Law enforcement also interviewed the passengers who rode
in Keadle’s vehicle on the night Thomas disappeared. Like
Keadle, the passengers reported seeing Thomas walking toward
the coed dorm complex around 1:15 a.m. on December 3,
2010, and thought she looked intoxicated. One of the passen-
gers said he asked about offering Thomas a ride, but Keadle
responded, “‘No. She is like that all the time, just leave her.’”
The passengers also said that they had plans to “hang out” with
Keadle after they arrived at the dorm complex, but that Keadle
separated from them and they were not able to reach him for
a while after that. One of the passengers reported that Keadle
sent her a text message at 2:13 a.m., stating, “My stomach is
killin me. I’m [expletive] my guts out! And throwing up.” He
texted her again at 2:15 a.m., stating, “I was in the shower.
Good night!” He texted her once more at 2:42 a.m., saying,
“I’m goin for a ride, want to come?” She did not reply.
                     (b) Video Surveillance
   Law enforcement obtained video surveillance footage from
a bank in Peru, showing traffic on Fifth Street during the early
morning hours of December 3, 2010. Fifth Street connects
with another street that leads to the boat ramp at the Missouri
River. At 2:09 a.m., and again at 3:15 a.m., the video showed
Keadle’s vehicle traveling southbound on Fifth Street toward
the PSC campus.
                (c) Drag Marks and Tire Tracks
   In the days following Thomas’ disappearance, members of
law enforcement searched the area near the Missouri River
for evidence. In an area located just north of the boat ramp
where Keadle admitted he had been with Thomas before she
disappeared, they observed what appeared to be “drag marks”
leading to the riverbank and down toward the water. The drag
marks were located near a set of tire tracks that were consistent
with the tires on Keadle’s vehicle.
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         Nebraska Supreme Court Advance Sheets
                  311 Nebraska Reports
                        STATE v. KEADLE
                        Cite as 311 Neb. 919
                      (d) Keadle’s Vehicle
   Approximately 5 days after Thomas’ disappearance, law
enforcement impounded and searched Keadle’s vehicle, a 1996
Ford Explorer. Law enforcement searched the vehicle again
in 2016. Neither search revealed evidence of bloodshed or
evidence of Thomas’ DNA profile. The expert who searched
Keadle’s vehicle in 2016 noted there were more than 100
stains on the carpeting, ceiling, and door of Keadle’s vehicle,
but there were no stains on the seats; the seats appeared to be
“brand new” compared to the rest of the vehicle.
               (e) Keadle’s Statements to Others
   Over the course of the investigation, law enforcement learned
that Keadle had asked several PSC students to provide alibis.
One student, who had been a passenger in Keadle’s vehicle the
night Thomas went missing, said Keadle approached him the
next morning and said, “[I]f anybody says anything or if any-
body asks, . . . can you tell them that I was with you guys all
night?” One of Keadle’s roommates (who had been out of town
on the night Thomas disappeared) recalled a similar conversa-
tion. Keadle told the roommate that the “cops were by asking
questions” and that if he “got asked about it,” he should say
that Keadle was with him the night Thomas disappeared.
   The day after Thomas went missing, Keadle was talking
with a fellow PSC student while waiting in line to be inter-
viewed by police. Keadle told the student he had a gun and
asked whether the student would “hold it” for him. The student
refused. The same student reported seeing Keadle with a gun
once earlier that semester, and another student reported that
Keadle told her he kept a gun under the passenger seat of his
vehicle. No gun was ever recovered.
   A few months after Thomas disappeared, Keadle was in
the Nemaha County jail and commented to a cellmate about
Thomas’ disappearance. The cellmate did not report the com-
ment to law enforcement until 2017, after learning that Keadle
had been arrested for Thomas’ murder. At that time, the cell-
mate reported that while they were incarcerated together in
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         Nebraska Supreme Court Advance Sheets
                  311 Nebraska Reports
                       STATE v. KEADLE
                       Cite as 311 Neb. 919
2011, Keadle said that he “‘[f]ucked [Thomas] and left her
at the dock,’” but “‘will never go to prison because they will
never find the body.’”

                4. Criminal Charges and Trial
   Keadle was arrested on December 8, 2010, in connection
with Thomas’ disappearance, but he was not prosecuted at
that time. He was arrested again in October 2017 and was
eventually charged with the first degree murder of Thomas, a
Class IA felony. The information was filed in Nemaha County
District Court, but Keadle successfully moved for a change of
venue, and the case was transferred to Gage County.
   A jury trial commenced on January 28, 2020. The State
introduced evidence about Thomas’ active social and extra-
curricular life at PSC, as well as her close relationships with
family members and friends, none of whom had seen or heard
from Thomas since her disappearance. The State also intro-
duced the evidence described above regarding the investigation
into Thomas’ disappearance, including Keadle’s interviews,
Keadle’s statements to others, the bank surveillance footage,
the searches of Keadle’s vehicle, and the drag marks found by
the river.
   Keadle did not testify in his own defense, but he offered
evidence suggesting several possible explanations for Thomas’
sudden disappearance. Keadle introduced evidence of dif-
ficulties Thomas was experiencing in dating and personal
relationships in the months leading up to her disappearance.
He introduced posts from Thomas’ social media accounts
in which she described “‘starting to slowly break down’”
and drinking too much alcohol. And Keadle also introduced
expert testimony on accidental hypothermia through a foren-
sic pathologist and medical doctor. The pathologist testified
about instances where intoxicated individuals had wandered
off in cold weather and succumbed to hypothermia. On cross-
examination, he admitted that if there was evidence that
someone purposely took another person out to a place where
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          Nebraska Supreme Court Advance Sheets
                   311 Nebraska Reports
                         STATE v. KEADLE
                         Cite as 311 Neb. 919
that person would not be able to get back to safety, “you
would call [that] a homicide.”
   At the close of the evidence, Keadle moved to dismiss the
complaint, asserting the evidence was insufficient to establish
the corpus delicti of homicide. The district court overruled the
motion, and the matter proceeded to a jury instruction confer-
ence. Keadle asked the court to give a tendered jury instruc-
tion addressing corpus delicti, which the district court refused.
No error has been assigned to that ruling or to any of the jury
instructions.
               5. Jury Verdict and Sentence
   The jury was given a standard step instruction and was told
it could return a verdict of (1) guilty of murder in the first
degree, (2) guilty of murder in the second degree, (3) guilty
of sudden quarrel manslaughter, or (4) not guilty. The jury
returned a verdict finding Keadle guilty of second degree mur-
der. The judge accepted the verdict and sentenced Keadle to
imprisonment for a term of 71 years to life.
   Keadle appeals, represented by his trial counsel.
                II. ASSIGNMENT OF ERROR
   Keadle assigns that the evidence adduced at trial was insuf-
ficient to establish the corpus delicti of homicide beyond a
reasonable doubt.
                  III. STANDARD OF REVIEW
   [1] Regardless of whether the evidence is direct, circumstan-
tial, or a combination thereof, and regardless of whether the
issue is labeled as a failure to direct a verdict, insufficiency of
the evidence, or failure to prove a prima facie case, the stan-
dard is the same: In reviewing a criminal conviction, an appel-
late court does not resolve conflicts in the evidence, pass on
the credibility of witnesses, or reweigh the evidence; such mat-
ters are for the finder of fact, and a conviction will be affirmed,
in the absence of prejudicial error, if the evidence admitted
at trial, viewed and construed most favorably to the State, is
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            Nebraska Supreme Court Advance Sheets
                     311 Nebraska Reports
                              STATE v. KEADLE
                              Cite as 311 Neb. 919
sufficient to support the conviction. 1 The relevant question for
an appellate court is whether, after viewing the evidence in
the light most favorable to the prosecution, any rational trier
of fact could have found the essential elements of the crime
beyond a reasonable doubt. 2
                        IV. ANALYSIS
   In this appeal, Keadle does not argue that the evidence
adduced at trial was insufficient to convict him of second
degree murder. 3 Instead, his only assignment of error is that
the evidence adduced was insufficient to establish the corpus
delicti of homicide beyond a reasonable doubt. We limit our
analysis accordingly, and we begin with a review of the corpus
delicti requirement in Nebraska.
                       1. Corpus Delicti
   [2] The “corpus delicti” is the body or substance of the
crime—the fact that a crime has been committed, without
regard to the identity of the person committing it. 4 For more
than a century, Nebraska cases have recognized a corpus delicti
requirement for criminal convictions. 5 While we have consid-
ered the corpus delicti requirement in cases involving murder, 6
1
    State v. Hassan, 309 Neb. 644, 962 N.W.2d 210 (2021).
2
    State v. Stack, 307 Neb. 773, 950 N.W.2d 611 (2020).
3
    See Neb. Rev. Stat. § 28-304(1) (Reissue 2016) (“[a] person commits
    murder in the second degree if he [or she] causes the death of a person
    intentionally, but without premeditation”).
4
    State v. Edwards, 278 Neb. 55, 65, 767 N.W.2d 784, 795 (2009).
5
    See, e.g., Dodge v. The People, 4 Neb. 220, 230-31 (1876) (“[a] confession
    alone ought not to be sufficient evidence of the corpus delicti. There
    should be other proof that a crime has actually been committed, and the
    confession should only be allowed for the purpose of connecting the
    defendant with the offense”).
6
    See, e.g., State v. Golyar, 301 Neb. 488, 919 N.W.2d 133 (2018); Edwards,
    supra note 4; Gallegos v. State, 152 Neb. 831, 43 N.W.2d 1 (1950); Egbert
    v. State, 113 Neb. 790, 205 N.W. 252 (1925); Cryderman v. State, 101
    Neb. 85, 161 N.W. 1045 (1917).
                                     - 931 -
              Nebraska Supreme Court Advance Sheets
                       311 Nebraska Reports
                               STATE v. KEADLE
                               Cite as 311 Neb. 919
we have also considered it in cases involving receiving a stolen
automobile, 7 larceny, 8 forgery, 9 arson, 10 embezzlement of public
money, 11 possession of cocaine, 12 destruction of property, 13 and
leaving the scene of an accident, 14 to name a few.
   [3-5] We have described the corpus delicti requirement as
being composed of two elements: the fact or result forming
the basis of a charge and the existence of a criminal agency as
the cause thereof. 15 Nebraska requires that the corpus delicti of
a crime must be established by evidence beyond a reasonable
doubt, but it may be proved by either direct or circumstantial
evidence. 16 Circumstantial evidence is evidence which, without
going directly to prove the existence of a fact, gives rise to a
logical inference that such fact exists. 17
   [6] When describing the type of evidence that will satisfy the
corpus delicti requirement, our rule has changed over time. 18
 7
     Limmerick v. State, 120 Neb. 558, 234 N.W. 98 (1931).
 8
     Smith v. State, 17 Neb. 358, 22 N.W. 780 (1885).
 9
     Blacker v. State, 74 Neb. 671, 105 N.W. 302 (1905).
10
     Maher v. State, 144 Neb. 463, 13 N.W.2d 641 (1944).
11
     Haines v. State, 170 Neb. 304, 102 N.W.2d 609 (1960).
12
     State v. Thompson, 244 Neb. 189, 505 N.W.2d 673 (1993).
13
     State v. Babajamia, 223 Neb. 804, 394 N.W.2d 289 (1986).
14
     State v. Nichols, 175 Neb. 761, 123 N.W.2d 860 (1963).
15
     Edwards, supra note 4.
16
     Id. See, also, State v. Stubbendieck, 302 Neb. 702, 924 N.W.2d 711 (2019);
     Golyar, supra note 6; Gallegos, supra note 6.
17
     Stubbendieck, supra note 16.
18
     Compare rule as explained in Dodge, supra note 5 (providing that corpus
     delicti must be proved by evidence other than defendant’s confession), with
     Limmerick, supra note 7 (providing that confessions may be considered
     with other evidence to establish corpus delicti), and Egbert, supra note
     6, 113 Neb. at 795, 205 N.W. at 254 (providing that corpus delicti may
     be proved by extrajudicial confession along with “slight corroborating
     circumstances”).
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             Nebraska Supreme Court Advance Sheets
                      311 Nebraska Reports
                              STATE v. KEADLE
                              Cite as 311 Neb. 919
But our modern cases recite that although a conviction cannot
be sustained solely upon a defendant’s extrajudicial admission
or voluntary confession, “either or both are competent evidence
of [corpus delicti] and may, with corroborative evidence of
facts and circumstances, establish the corpus delicti and guilty
participation of the defendant.” 19
   [7-9] In homicide cases, the corpus delicti requirement is
not established until it is proved that a human being is dead
and that the death occurred as a result of the criminal agency
of another. 20 But “the body of a missing person is not required
to prove the corpus delicti for homicide.” 21 We have explained
that “[t]o require that the victim’s body be discovered would
be unreasonable; it would mean that a murderer could escape
punishment by successfully disposing of the body, no matter
how complete and convincing the other evidence of guilt.” 22
Moreover, the failure to recover a body may, itself, be circum-
stantial evidence of corpus delicti:
      “The fact that [the victim’s] body was never recovered
      would justify an inference by the jury that death was
      caused by a criminal agency. It is highly unlikely that a
      person who dies from natural causes will successfully dis-
      pose of his [or her] own body. Although such a result may
      be a theoretical possibility, it is contrary to the normal
      course of human affairs.
         “The fact that a murderer may successfully dispose of
      the body of the victim does not entitle him [or her] to an
19
     Stubbendieck, supra note 16, 302 Neb. at 719, 924 N.W.2d at 724. See,
     also, Egbert, supra note 6.
20
     Edwards, supra note 4. See, also, Golyar, supra note 6; Gallegos, supra
     note 6.
21
     Edwards, supra note 4, 278 Neb. at 66, 767 N.W.2d at 796.
22
     Id.
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                               STATE v. KEADLE
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      acquittal. That is one form of success for which society
      has no reward.” 23
   We have, in two prior cases, found that circumstantial evi-
dence associated with a missing person’s disappearance was
sufficient to establish a death by criminal agency, and thus suf-
ficient to establish the corpus delicti of homicide. 24 Both cases
are instructive.
   In State v. Edwards, 25 the victim disappeared suddenly after
telling a friend that she was on her way to see the defend­ant.
The defendant was charged with murder in connection with
the victim’s disappearance, and the jury ultimately convicted
him of second degree murder. On appeal, the defendant
argued there was insufficient evidence to establish the corpus
delicti of homicide, because the victim’s body had not been
found, he had not confessed to the victim’s murder, and there
was no direct evidence that any death was caused by crimi-
nal agency.
   [10,11] We found there was sufficient circumstantial evi-
dence to prove corpus delicti, explaining:
      The law is clear that in the absence of a body, confes-
      sion, or other direct evidence of death, circumstantial
      evidence may be sufficient to support a conviction for
      murder. There is no reason to treat the crime of murder
      differently from other crimes when considering the use
      of circumstantial evidence to establish their commission,
23
     Id. at 66-67, 767 N.W.2d at 796, quoting People v. Manson, 71 Cal.
     App. 3d 1, 139 Cal. Rptr. 275 (1977). See, also, Limmerick, supra note
     7, 120 Neb. at 560, 234 N.W. at 99 (remarking that “[g]uilty men would
     often escape just punishment if the rule prevailed, as in early times, that
     a conviction could not be obtained in a homicide case unless the corpus
     delicti was proved by direct evidence which necessitated the finding of the
     victim’s body in every case” and that such a rule “made murderers safe if
     the body of the victim was burned or placed in the bottom of the sea”).
24
     See, Golyar, supra note 6; Edwards, supra note 4.
25
     Edwards, supra note 4.
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                              STATE v. KEADLE
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      and “[t]he presence or absence of a particular item of
      evidence is not controlling. The question is whether from
      all of the evidence it can reasonably be inferred that death
      occurred and that it was caused by a criminal agency.”
      The presence of a confession, admission, or incriminating
      statement is a distinction without a difference. 26
In discussing the circumstantial evidence establishing the cor-
pus delicti, Edwards noted there was evidence that the victim’s
habits and relationships had been abruptly severed without
explanation, that she had abandoned all of her personal effects
and her pet, and that she had not picked up her paycheck or
used her bank account since her disappearance. We described
this as persuasive circumstantial evidence of an involuntary
disappearance and death by foul play.
   Additionally, Edwards noted that evidence of “what was
almost certainly [the victim’s] blood . . . found in [the defend­
ant’s] bedroom and the trunk of his automobile is highly sug-
gestive of an unlawful killing.” 27 Edwards also found circum-
stantial evidence of corpus delicti based on evidence that the
defendant had taken steps to conceal the victim’s disappearance
and to cover up the blood evidence, explaining that the “fact
that such evidence also bears on who is guilty does not detract
from its efficacy at establishing the corpus delicti.” 28 Edwards
thus concluded that despite the absence of a confession or
admission from the defendant, the circumstantial evidence was
easily sufficient to prove the corpus delicti of homicide.
   In State v. Golyar, 29 the victim also disappeared suddenly
and unexpectedly and her body was never found. Four years
later, the defendant, who considered the victim a romantic
rival, was charged with first degree murder in connection
26
     Id. at 68-69, 767 N.W.2d at 797.
27
     Id. at 67, 767 N.W.2d at 797.
28
     Id. at 68, 767 N.W.2d at 797.
29
     Golyar, supra note 6.
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                              STATE v. KEADLE
                              Cite as 311 Neb. 919
with the victim’s disappearance. The defendant was convicted
after a bench trial, and she appealed, arguing, among other
things, that the evidence was insufficient to prove the victim
was dead.
   Our opinion in Golyar cited Edwards for the settled propo-
sitions that the body of a missing person is not required to
prove the corpus delicti of homicide and that circumstantial
evidence associated with the victim’s disappearance can be
sufficient to establish the victim’s death. With respect to cor-
pus delicti, the defendant in Golyar was challenging only the
sufficiency of proof that a death had occurred, and we limited
our analysis accordingly. We noted there was evidence that the
victim abruptly ended her contacts with her teenage son, her
parents, her employer, and her boyfriend, and had not been
seen for years. There was evidence that the victim’s money
had not been accessed since her disappearance, aside from the
use of her debit card on one occasion (which was later linked
to the defendant). The victim’s own blood was found in her
abandoned vehicle. There was evidence that the defendant
had been posing as the victim online and in social media in
an attempt to conceal the victim’s disappearance. And there
were photographs of what appeared to be body parts with tat-
toos identical to those of the victim discovered on the memory
card from a cell phone belonging to the defendant. We con-
cluded that a rational trier of fact, viewing this circumstantial
evidence in the light most favorable to the State, could have
concluded beyond a reasonable doubt that the victim was no
longer alive.
   In this case, Keadle argues that the State failed to prove
the corpus delicti of homicide beyond a reasonable doubt.
When making this argument below, Keadle purported to rely
primarily upon our well-settled rule that criminal convic-
tions cannot be sustained solely upon extrajudicial admis-
sions or confessions. 30 To that end, Keadle urged that if his
30
     See Stubbendieck, supra note 16.
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                              STATE v. KEADLE
                              Cite as 311 Neb. 919
extrajudicial admissions had been excluded from consider-
ation, the remaining evidence adduced by the State would
have been insufficient to establish that Thomas’ death was
the result of criminal conduct. But he did not preserve such
an argument for appeal. In neither his appellate briefing, nor
during his oral argument, did Keadle argue that the district
court erred in considering his extrajudicial admissions when
it determined that the evidence was sufficient to establish the
corpus delicti of homicide. Instead, he argues more broadly
that the evidence adduced at trial was insufficient to prove the
corpus delicti of homicide beyond a reasonable doubt. In that
respect, the corpus delicti arguments he raises now resemble
those raised in Edwards and Golyar.
   We pause here to observe that in a case where the convic-
tion is not based solely on a confession or extrajudicial admis-
sion, it is not clear what purpose the corpus delicti requirement
serves that is not already served by requiring the State to prove
each material element of the charged crime beyond a reason-
able doubt. But ultimately, because no one here has asked us to
reconsider the utility of the corpus delicti requirement in such
a case, that is a question for another day.
   With this background in mind, we now turn to Keadle’s
argument that the evidence in this case was insufficient to
prove the corpus delicti of homicide.

                2. Evidence of Corpus Delicti
   To determine whether the corpus delicti requirement was
satisfied in this case, we view the evidence in the light most
favorable to the State and consider whether any rational trier of
fact could have found that Thomas is dead and that her death
resulted from a criminal act. 31 On this record, we find ample
circumstantial evidence to prove the corpus delicti of homicide
beyond a reasonable doubt.
31
     See, Golyar, supra note 6; Edwards, supra note 4.
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                              STATE v. KEADLE
                              Cite as 311 Neb. 919
    The evidence showed that Thomas was a young, active
college student who regularly participated in extracurricular
activities, often spoke with family members, and socialized
with peers. But since Thomas’ disappearance on December 3,
2010, none of her friends or family members have heard from
her. Her habits and relationships were abruptly severed without
explanation, and she left behind her driver’s license, birth cer-
tificate, Social Security card, keys, debit cards, a gift card, and
a sizable check. Her credit history shows no financial activity
since her disappearance, aside from a failure to pay student
loans. Based upon this evidence, a reasonable fact finder could
conclude beyond a reasonable doubt that Thomas is dead.
    However, we do not understand Keadle’s argument on appeal
to dispute there was sufficient evidence that Thomas is dead.
Instead, the primary focus of his argument is that the evidence
adduced was insufficient to prove that her death was the result
of a criminal act. Keadle argues that unlike Edwards, the State
offered “no blood evidence, other biological evidence, or any
other kind of physical evidence” 32 to suggest Thomas’ death
was caused by a criminal act.
    Keadle is correct that Edwards found bloodstain evidence
to be persuasive circumstantial proof that the victim in that
case was dead and that her death was the result of the criminal
act of another. But Edwards neither mandated nor suggested
that blood or other biological evidence must be present for
the State to prove corpus delicti in a homicide case where the
body is never found. To the contrary, Edwards clarified that
“‘[t]he presence or absence of a particular item of evidence is
not controlling’” 33 as to whether the corpus delicti requirement
has been satisfied. The fact that the circumstantial evidence in
this case did not include blood or DNA evidence is simply not
dispositive of the corpus delicti requirement. Instead, “‘[t]he
32
     Brief for appellant at 72.
33
     Edwards, supra note 4, 278 Neb. at 68, 767 N.W.2d at 797, quoting People
     v. Bolinski, 260 Cal. App. 2d 705, 67 Cal. Rptr. 347 (1968).
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                              STATE v. KEADLE
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question is whether from all of the evidence it can reasonably
be inferred that death occurred and that it was caused by a
criminal agency.’” 34 We find ample circumstantial evidence to
support the conclusion that Thomas died as a result of a crimi-
nal act.
   First, the fact that Thomas’ body was never recovered is, in
and of itself, circumstantial evidence that her death was caused
by a criminal act. As noted in Edwards, “‘[i]t is highly unlikely
that a person who dies from natural causes will successfully
dispose of his [or her] own body.’” 35 Moreover, the fact that
Thomas was a social, active young woman with many close
personal relationships makes it unlikely that without another’s
involvement, she would simply disappear without a trace. There
was also physical evidence supporting criminal activity in this
case. As noted, law enforcement observed what appeared to be
drag marks leading to the river in the area where Keadle admit-
ted being with Thomas on the night she disappeared.
   And Keadle’s own admissions provide strong circumstantial
evidence that Thomas’ death resulted from criminal acts which
he committed. Keadle admitted that he saw Thomas walking
to her dorm the night she disappeared and that he thought
she looked intoxicated. Keadle admitted that even though
he and Thomas did not get along, he picked her up in his
vehicle, drove her to the river, and engaged in sexual activity
with her. He also admitted that he and Thomas had a physi-
cal altercation at the river, that Thomas may have sustained
bruising during the altercation, and that during the altercation,
Thomas threatened to accuse him of rape. He admitted that
he left Thomas at the river after the altercation and that he
drove back to his dorm where he showered to “get [Thomas’]
DNA off of him,” before heading back to the river a second
time. This timeline was corroborated by the bank surveillance
video. Keadle also admitted to police that he was concerned
34
     Id.35
     Id. at 66, 767 N.W.2d at 796, quoting Manson, supra note 23.
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                                  STATE v. KEADLE
                                  Cite as 311 Neb. 919
about his criminal liability and had researched whether fin-
gerprints can show up on bodies that have been submerged
in water. From these admissions, a rational trier of fact could
infer that when Keadle left the river that night, he did not
leave Thomas alive.
   Moreover, in the days following Thomas’ disappearance,
Keadle tried to procure an alibi from two PSC students and
asked another student to hold a gun for him. And after Thomas’
disappearance, Keadle told his cellmate that he “‘[f]ucked
[Thomas] and left her at the dock,’” but “‘will never go to
prison because they will never find the body.’” Based on this
evidence, a rational trier of fact could find beyond a reasonable
doubt that Thomas’ death was the result of Keadle’s crimi-
nal agency.
   On this record, we find the evidence adduced at trial was
easily sufficient to establish the corpus delicti of homicide
beyond a reasonable doubt. Keadle’s sole assignment of error
is without merit.
   For the sake of completeness, we note that Keadle also
argues that the circumstantial evidence adduced at trial may
support noncriminal explanations for Thomas’ death, including
that she “may have purposely or accidentally hurt herself.” 36
Keadle points to evidence that Thomas was experiencing rela-
tionship problems and that on the night of her disappearance,
she was intoxicated, angry, and “inappropriately dressed for
the cold.” 37 He argues that “[s]he was so desperate to get to
Omaha, she offered a sexual favor to someone she disliked.” 38
And he suggests that after she was “[l]eft at the river in the
cold and the darkness while drunk and angry, anything could
have happened to her. She might have fallen in the river. She
might have jumped in the river.” 39
36
     Brief for appellant at 72.
37
     Id. at 73.
38
     Id.
39
     Id.
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                      311 Nebraska Reports
                             STATE v. KEADLE
                             Cite as 311 Neb. 919
   [12] Keadle made similar arguments to the jury in this case,
and the jury rejected those arguments by returning a verdict
finding Keadle guilty of second degree murder. Moreover, to
the extent Keadle is suggesting that in order to prove the corpus
delicti of homicide using circumstantial evidence, the State had
to disprove all theories inconsistent with criminal agency, he is
simply incorrect. Nebraska has rejected the accused’s rule, and
thus has abandoned “‘any notion that before an accused may
be convicted on the basis of circumstantial evidence alone, the
State must disprove every hypothesis but that of guilt.’” 40 The
accused’s rule has no application when reviewing the suffi-
ciency of circumstantial evidence to support a criminal convic-
tion, and it has no application when reviewing the sufficiency
of circumstantial evidence to establish corpus delicti.
                      V. CONCLUSION
   Finding no merit to Keadle’s assigned error, we affirm the
judgment of the district court.
                                                 Affirmed.
   Freudenberg, J., not participating.
40
     State v. Olbricht, 294 Neb. 974, 987, 885 N.W.2d 699, 708-09 (2016),
     quoting State v. Buchanan, 210 Neb. 20, 312 N.W.2d 684 (1981).
